Case 1:10-cr-00384-LEK Document 1449 Filed 09/26/22 Page 1 of 5   PageID.9665



                      UNITED STATES DISTRICT COURT

                           DISTRICT OF HAWAII


UNITED STATES OF AMERICA,                CR. NO. 10-00384(06) LEK

                  Plaintiff,

      vs.

WESLEY MARK SUDBURY,

                  Defendant.


                    ORDER: RULING REGARDING COUNT 1

            This matter arises out of a criminal indictment

originally filed against Defendant Wesley Mark Sudbury

(“Sudbury”) and several others on June 24, 2010.           See

Indictment, filed 6/24/20 (dkt. no. 1).         A superseding

indictment was filed on January 11, 2013.         See First Superseding

Indictment, filed 1/17/13 (dkt. no. 509) (“Superseding

Indictment”).    After a jury trial, Sudbury was found guilty on

September 16, 2022 of Counts 1, 6 and 7 of the Superseding

Indictment.    See Verdict Form, filed 9/16/22 (dkt. no. 1442).

            The Court, on September 21, 2022, directed the parties

to submit briefing regarding Sudbury’s conviction on Count 1 of

the Superseding Indictment; specifically,

            to brief the issue of whether Sudbury’s
            conviction of Count 1 should be vacated based on
            United States v. Mendoza, 25 F.4th 730 (9th Cir.
            2022). See, e.g., Mendoza, 25 F.4th at 736 (“If
            we . . . see only a casual sale or purchase of
Case 1:10-cr-00384-LEK Document 1449 Filed 09/26/22 Page 2 of 5   PageID.9666



            drugs, of a quantity consistent with personal use
            on the part of the buyer, with no evidence of any
            subsequent (or planned) redistribution of
            purchased drugs, the evidence is generally
            insufficient to support a conspiracy conviction.”
            (brackets, citation, and internal quotation marks
            omitted)).

[Minute Order - EO: Court Order Directing the Parties to File

Briefing Regarding Count 1, filed 9/21/22 (dkt. no. 1446).]

            Plaintiff United States of America (“the Government”)

filed its brief on September 23, 2022.         See United States’ Brief

Regarding Count 1, filed 9/23/22 (dkt. no. 1447) (“Government’s

Brief”).    Sudbury did not file a brief addressing this issue.

            The facts relevant to the issue at hand revolve around

Sudbury being found guilty as charged in Count 1 of the

Superseding Indictment, and that Count 1 charged Sudbury with

“knowingly and intentionally conspir[ing] to manufacture, to

distribute, and to possess with intent to distribute marijuana,

a Schedule I controlled substance, said offense involving one-

hundred (100) or more marijuana plants, as well as harvested and

processed marijuana and other products containing

marijuana . . . .”     [Superseding Indictment at pg. 2.]         In

brief, the testimony at trial was that Sudbury was heard on one

recorded telephone call with a co-defendant in which he agreed

to sell two amounts of marijuana, the largest of these two

amounts was one pound; that he told a law enforcement officer he

provided marijuana to the co-defendant at a per pound amount

                                      2
Case 1:10-cr-00384-LEK Document 1449 Filed 09/26/22 Page 3 of 5   PageID.9667



which represent the recoupment of his costs; that he had

possession and control over real property where hundreds of live

marijuana plants were confiscated by law enforcement when

Sudbury was absent from the property; and that he offered an

undercover officer a tour of his marijuana cultivation.

            The issue is, as to Count 1, whether the Government

was required to prove beyond a reasonable doubt that Sudbury

agreed to manufacture, to distribute and to possess with the

intent to distribute marijuana.        This Court concludes that it

was not.

            The Government points out that the jury was instructed

that they had to find, unanimously, “that there was a plan to

commit at least one of the crimes alleged in the indictment as

an object or purpose of the conspiracy . . . .”           [Government’s

Brief at 6; Jury Instructions, filed 9/16/22 (dkt. no. 1439), at

23 (emphasis added).]      This language comes from the Government’s

proposed jury instructions and is a modified version of Ninth

Circuit Model Criminal Jury Instruction No. 12.5.           See

Government’s Proposed Jury Instructions, filed 8/31/22 (dkt.

no. 1414), at PageID.9449-51.       The “at least one of the crimes

alleged in the indictment” language is in Model Instruction No.

12.5 – Conspiracy to Distribute or Manufacture.           This language -

“at least one of the crimes alleged in the indictment” - also



                                      3
Case 1:10-cr-00384-LEK Document 1449 Filed 09/26/22 Page 4 of 5   PageID.9668



appears in Ninth Circuit Model Criminal Jury Instruction

No. 8.20 – the general conspiracy instruction.

            In the context of a “multi-object bribery-related

conspiracy,” the Ninth Circuit has stated:

            In this case, the instruction given for both the
            multi-object bribery-related conspiracy, 18
            U.S.C. § 371, and the witness tampering
            conspiracy, 18 U.S.C. § 1512(k), were taken from
            the Ninth Circuit Manual of Model Criminal Jury
            Instructions § 8.20. These instructions
            adequately stated the law, and, taken as a whole,
            they were not confusing. Contrary to Billy’s
            argument, the instruction for the Section 371
            multi-object bribery-related conspiracy
            adequately instructed the jury that it must
            unanimously agree on at least one of the
            conspiracy’s objectives. That instruction
            specifically stated that the jury “must find that
            there was a plan to commit at least one of the
            crimes alleged in the first superseding
            indictment as an object of the conspiracy with
            all of you agreeing as to the particular crime
            which the conspirators agreed to commit.” That
            instruction is more than sufficient to guide the
            jury. See, e.g., United States v. Friedman, 445
            F.2d 1076, 1084 (9th Cir. 1971).

United States v. Nelms, 653 F. App’x 524, 526–27 (9th Cir. 2016)

(emphases in Nelms).

            In sum, the reasonable inferences from the evidence

supports the jury’s conclusion that Sudbury was a participant in

a conspiracy to manufacture marijuana and the conspiracy to

possess with the intent to distribute marijuana.           While the

evidence with regard to Sudbury’s distribution of marijuana may

be limited to two instances that could be reasonably inferred as


                                      4
Case 1:10-cr-00384-LEK Document 1449 Filed 09/26/22 Page 5 of 5   PageID.9669



“casual sale” and thus insufficient to support a conviction for

conspiracy to distribute for the reasons stated in Mendoza, 25

F.4th at 736, it is clear that the Government was required to

prove beyond reasonable doubt that Sudbury agreed to “at least

one of the crimes alleged in the indictment” as an object of the

conspiracy, and the Government did so.         The record amply

supports a finding that Sudbury manufactured marijuana in more

than user quantities and/or possessed with the intent to

distribute marijuana, given that over one hundred live marijuana

plants were recovered from his real property.

            IT IS SO ORDERED.

            DATED AT HONOLULU, HAWAII, September 26, 2022.




UNITED STATES VS. WESLEY MARK SUDBURY; CR 10-00384(06) LEK;
ORDER: RULING REGARDING COUNT 1


                                      5
